Case 1:18-cv-01056-CMH-MSN Document1 Filed 08/22/18 Page 1 of 15 PagelD# 1

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

CHARLOTTE SADLER )
)
Plaintiff, )
)

Vv. ) Civil Action No.:
)
TARGET CORPORATION )
d/b/a TARGET STORES, INC. )
)
)
Defendants. )

NOTICE OF REMOVAL

 

Defendant, Target Corporation d/b/a Target Stores, Inc. (“Target”), by counsel, pursuant
to 28 U.S.C. §§ 1332(a)(1), 1441, and 1446, hereby removes the action brought against it by
Charlotte Sadler, (“Sadler”) in the Circuit Court of the Loudoun County, styled Charlotte Sadler
v. Target Corporation d/b/a Target Stores, Inc.. As grounds for removal, Defendant states the

following:

PARTIES
(1) On or about March 22, 2018, Sadler filed a complaint against Target in the Circuit
Court of the Loudoun County. A copy of the Complaint is attached as Exhibit A.
(2) The complaint was served via process server to CT Corporation System, the
Registered Agent for Target on July 23, 2018. Target accepted service by filing its Demurrer,
Answer and Affirmative Defenses on August 10, 2018.

(3) According to Plaintiff's Complaint, Sadler is a Virginia citizen.
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(4) At the time this action was commenced in the Circuit Court of the Loudoun
County and at the time of the filing of this Notice of Removal, Target was and remains a
Minnesota Corporation with its principal place of business in Minneapolis, MN.

JURISDICTION AND VENUE

(5) | Defendants Target Corporation d/b/a Target Stores, Inc. are not citizens of
Virginia and complete diversity exists. Pursuant to 28 U.S.C. §§ 1332 and 1441, this Court has
subject matter jurisdiction over the action.

(6) Pursuant to 28 U.S.C. § 1446(b)(2)(A), “all defendants who have been properly
joined and served must join in or consent to the removal of the action.”

(7) Target Corporation d/b/a Target Stores Inc., is the only proper party to this suit.
Target therefore asserts that no further consent to removal is required.

(8) The amount in controversy, pursuant to Plaintiff's complaint, exceeds $75,000,
exclusive of interest and costs.

(9) The last day of the 30 day period to remove falls on Wednesday, August 22, 2018.
Therefore this notice of removal is timely filed within 30 days’ notice of the initial pleading
under 28 U.S.C. § 1446(b) and FRCP 6(a).

(10) The United States District Court for the Eastern District of Virginia, Alexandria
Division, embraces the Loudoun County.

PROCESS AND PLEADINGS

(11) Accopy of the Complaint and Summons is attached as Exhibit A. No other

process, pleadings, or orders have been served upon Target. A copy of Target’s Demurrer,

Answer, and Affirmative Defenses is attached as Exhibit B.
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(12) The Circuit Court of the Loudoun County has been notified of the removal of this
action.
BRIEF IN SUPPORT
(13) Target will not file a brief in support of its Notice of Removal. According to
Local Rule 7(F), briefs are only required to support motions.

WHEREFORE, Target requests that this action be removed to this Court and that this

Court assume subject matter jurisdiction.

 

TARGET STORES, INC.
BY: /s/
Of Counsel

J. Derek Turrietta (VSB # 35233)
STACKHOUSE, NEXSEN, &
TURRIETTA, PLLC

4505 Colley Avenue

Norfolk, Virginia 23508

Telephone: (757) 623-355

Fax: (757) 624-9245

Email: dturrietta@stackhouselaw.net
Counsel for Defendant
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CERTIFICATE OF SERVICE

I hereby certify that on this 22 day of August, 2018, a true copy of the foregoing
NOTICE OF REMOVAL was sent via first class mail to:

Barbara S. Williams, Esquire
Cory R. Ford, Esquire

101 Loudoun Street, SW
Leesburg, Virginia 20175

Counsels for Plaintiff

/s/
J. Derek Turrietta (VSB # 35233)
STACKHOUSE, NEXSEN, &
TURRIETTA, PLLC
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Norfolk, Virginia 23508
Telephone: (757) 623-355
Fax: (757) 624-9245
Email: dturrietta@stackhouselaw.net
Counsel for Defendant
 

 

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VIRGINIA: Dp Wap “ £
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IN THE CIRCUIT COURT FOR LOUDOUN COUNTY Lircy,, < fy 2: /
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CHARLOTTE SADLER : Teg
; Q
Plaintiff : *
Vv. i
TARGET CORPORATION :
d/b/a Target Stores, Inc. : Case No.: | | “| | 0
Serve:
CT Corporation System, Registered Agent
4701 Cox Road, Suite285 :
Glen Allen, VA 23060 :
Defendant
COMPLAINT

Plaintiff, Charlotte Sadler, by counsel, moves for judgment against the defendant, Target
Corporation doing business as Target Stores, Inc. (hereinafter “Target Stores” or “Super Target”)
on the grounds and in the amount set forth as follows:

1. Defendant Target Stores is a corporation which regularly conducts business in the
County of Loudoun, Virginia.

2 Defendant Target Stores owns and operates the Super Target located at 1200
Edwards Ferry Road NE in Leesburg, Virginia.

3. Plaintiff, Charlotte Sadler (hereinafter “Sadler”), was and is a resident of Loudoun
County, Virginia.

4. On or about March 26, 2016, Sadler was a lawful patron of the Super Target in
Leesburg, Virginia.

5. On or about March 26, 2016, Sadler was a business invitee of Target Stores.
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6. While shopping at the Super Target, Sadler and a friend sat down in the café area

in the front of the store,
7. Sadler noticed that her chair was wobbly.
8. As Sadler started to yet up from the chair, the back leg broke and Sadler's head
and body slammed onto the floor.
9, The chair leg was broken and bent all the way back.
10. Asa result of her fall trom the broken chair, Sadler sustained bodily injuries.
Il. As the owner and operator of places of business to which the general public is

|
invited, Defendant Target Stores, and its agents and employees, had a non-delegable duty to

maintain its premises in a reasonably safe condition, including but not limited to inspecting

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chairs to ensure they are not broken; in addition, the owner and nperalar of Defendant Target
Stores has a duty to: |

|

a. use reasonable care to have the premises in a rcasonabl y safe condition for
|

the customer's use:

b. not create dangerous and/or hazardous conditions. such as leaving a poorly
maintained and defective chair in the café area. which they knew or should
have known existed, in the exercise of appropriate care;

Cc. make reasonable inspections and efforts to determine whether conditions
existed so as to render the property unsafe for the use of business invitecs:

d. use ordinary care to warn invitecs of any unsafe or defective conditions as
it, its agents or employees knew or should have known by the use of
ordinary care;

to otherwise properly remove or ameliorate any such danverous conditions

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as described above
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Notwithstanding these duties the Defendant Target Stores, its agents and
employees negligently caused and permitted unsafe conditions to exist at the store. including but
not limited to leaving a defective chair in the café area that was intended to be used by
customers. Defendant failed to cure that hazard, ameliorate it. or protect or warn patrons of the
hazardous, detective, and unsafe conditions created thereby. on the date and at the location
where the Plaintiff was injured.

13. Plaintiff had the right to assume that the premises were reasonably safe for her
visit on March 26, 2016.

14. Asa direct and proximate result of the negligence of Defendant ‘Farget Stores,
individually and acting by and through its employees within the scope of their employment,
Charlotte Sadler was caused to sustain injuries: has incurred medical and hospital expenses in an
effort to be healed and cured and may continue to incur said expenses in the future; and. claims
all damages allowable by law as enumerated in Virginia Model Jury Instruction 9.000 that are
proven by the evidence.

WHEREFORE the Plaintiff. Charlotte Sadler, demands judgment aguinst Defendant.
Target Stores, in the sum of FOUR HUNDRED FIFTY THOUSAND Dollars ($450,000.00) or
such greater amount as may be warranted by the evidence at trial. plus interest from the date of
injury pursuant to Va. Code Ann. § 8.01-382 (1950, as amended). together with all costs,
expenses, fees, and all such further relief as may be recoverable under applicable law.

THE PLAINTIFF DEMANDS A TRIAL BY JURY.

CHARLOTTE SADLER
By Counsel
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puso ~

[eu S. Williams (VSB# 28279}
Cory R. Ford (VSB# 68153)
WILLLAMSFORD

101 Loudoun Street, SW

Leesburg, Virginia 20175

(703) 777-6535

(703) 777-6963 FAX
barbara@owilliamsfordlaw.com
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COMMONWEALTH OF VIRGINIA

 

LOUDOUN CIRCUIT COURT
Civil Division
18 E MARKET ST/PO BOX 550
LEESBURG VA 20178-0550
(703) 777-0270

Summons

To: TARGET CORPORATION Case No, 107CL00114190-00
DBA TARGET STORES INC
SERVE: CT CORP SYSTEM R/A
4701 COX ROAD SUITE 285
GLEN ALLEN VA 23060

The party upon whom this summons and the attached complaint are served is hereby notified
that unless within 21 days after such service, response is made by filing in the clerk’s office
of this court a pleading in writing, in proper legal form, the allegations and charges may be
taken as admitted and the court may enter an order, judgment, or decree against such party
either by default or after hearing evidence.

Appearance in person is not required by this summons.
Done in the name of the Commonwealth of Virginia on, Tuesday, July 17, 2018

Clerk of Court: GARY M CLEMENS

by A arr’

(CLERK/DEPUTY CLERK )

Instructions:

Hearing Official:

Attorney's name: WILLIAMS, BARBARA S
¥ * (703) 777-6535
101 LOUDOUN STREET SW
LEESBURG VA 20175
TO: Sue Carlson
Target Corporation
1000 Nicollet Mall

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S.CT Corporation

Service of Process
Transmittal
07/23/2018

CT Log Number 533744423

Minneapolis, MN 55403-2542

RE: Process Served in Virginia

FOR: Target Corporation (Domestic State: MN)

ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:
DOCUMENT(S) SERVED:

COURT/AGENCY:

NATURE OF ACTION:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
JURISDICTION SERVED :
APPEARANCE OR ANSWER DUE:

ATTORNEY(S) / SENDER(S):

ACTION ITEMS:

SIGNED:
ADDRESS:

TELEPHONE:

CHARLOTTE SADLER, PLTF. vs. TARGET CORPORATION, ETC., DFT.
Summons, Complaint

Loudoun County Circuit Court, VA
Case # 107CL0011419000

Personal Injury - Failure to Maintain Premises in a Safe Condition - On or about
03/26/2016

C T Corporation System, Glen Allen, VA
By Process Server on 07/23/2018 at 09:00

a
Virginia

Within 21 days after such service

Barbara S. Williams
WILLIAMSFORD

101 Loudoun Street, SW
Leesburg, VA 20175
703-777-6535

CT has retained the current log, Retain Date: 07/24/2018, Expected Purge Date:
07/29/2018

Image SOP

Email Notification, Non Employee Litigation Target gl.legal@target.com

C T Corporation System
4701 Cox Road

Suite 285

Glen Allen, VA 23060
804-217-7255

Page 1 of 1/ AZ

Information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference. This information does not
constitute a legal opinion as to the nature of action, the
amount of damages, the answer date, or any information
contained in the documents themselves. Recipient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, nat contents.
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VIRGINIA: IN THE CIRCUIT COURT FOR LOUDOUN COUNTY
CHARLOTTE SADLER,
Plaintiff,

Vv. Case No.: CL00114190-00

TARGET CORPORATION
d/b/a Target Stores, Inc.

Defendant.

 

DEMURRER, ANSWER AND AFFIRMATIVE DEFENSES
NOW COMES the defendant, TARGET CORPORATION, d/b/a TARGET STORES,
INC. hereinafter “Target” improperly named in the Complaint as TARGET CORPORATION,
by counsel, and provides the following Demurrer, Answer, and Affirmative Defenses to

Plaintiffs Complaint:

DEMURRER
1. Target demurs to Plaintiff's Complaint regarding its caption and the naming of
Target Corporation.
2. Target Stores, Inc. is the fictitious name for Target Corporation in Virginia.

Therefore, Target Stores, Inc. is the proper party in this matter, not Target Corporation.
3. As such, Target demurs to the Complaint regarding Target Corporation and
requests the Court dismiss this matter against Target Corporation.
ANSWER
1. Target admits that it is a corporation regularly conducting business in Loudoun
County, Virginia.

2. Target admits that it operates a store at the indicated address of 1200 Edwards
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Ferry Road NE in Leesburg, Virginia. Target denies all other factual allegations, if any, alleged
in Paragraph 2 of the Compliant.

3. Target does not have sufficient information to admit or deny the allegations contained
in Complaint paragraph numbered 3 and therefore denies the same.

4. Target does not have sufficient information to admit or deny the allegations contained
in Complaint paragraph numbered 4 and therefore denies the same.

5. Target does not have sufficient information to admit or deny the allegations contained
in Complaint paragraph numbered 5 and therefore denies the same.

6. Target does not have sufficient information to admit or deny the allegations contained
in Complaint paragraph numbered 6 and therefore denies the same.

7. Target does not have sufficient information to admit or deny the allegations contained
in Complaint paragraph numbered 7 and therefore denies the same.

8. Target does not have sufficient information to admit or deny the allegations contained
in Complaint paragraph numbered 8 and therefore denies the same.

9. Denied.

10. Target objects to the allegations of paragraph 10 on the basis that they constitute legal
conclusions, the application of which cannot be determined until after the presentation of
evidence at trial; Target avers that no response is required to these legal conclusions. However,
to the extent that this Court should deem a response required, Target denies all legal conclusions
in Paragraph 10 of the Complaint and denies all factual allegations, if any, in Paragraph 10 of the
Complaint not otherwise specifically admitted.

11. Target objects to the allegations of paragraph 11. and 11. a-e. on the basis that they
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constitute legal conclusions, the application of which cannot be determined until after the
presentation of evidence at trial; Target avers that no response is required to these legal
conclusions. However, to the extent that this Court should deem a response required, Target
denies all legal conclusions in Paragraph 11. and 11. a-e. of the Complaint and denies all factual
allegations, if any, in Paragraph 11. and 11. a-e. of the Complaint not otherwise specifically
admitted.

12. Denied.

13. Target objects to the allegations of paragraph 13 on the basis that they constitute legal
conclusions, the application of which cannot be determined until after the presentation of
evidence at trial; Target avers that no response is required to these legal conclusions. However,
to the extent that this Court should deem a response required, Target denies all legal conclusions
in Paragraph 13 of the Complaint and denies all factual allegations, if any, in Paragraph 13 of the
Complaint not otherwise specifically admitted.

14. Denied.

AFFIRMATIVE DEFENSES

1. Target denies that it is liable to plaintiff in any amount or for any reason whatsoever.

2. Target denies that it was guilty of any negligence or carelessness whatsoever which
caused or contributed to cause Plaintiff's alleged injuries and damages.

3. Plaintiff was negligent, which was a contributory or sole proximate cause of her alleged

injuries and damages.

4. Plaintiff assumed the risk of her alleged injuries and damages by her actions.

5. Target states affirmatively that to the extent Plaintiff suffered any damages, Plaintiff

failed to mitigate her damages.
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10.

11.

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14.

15.

If Plaintiff suffered any harm, as alleged and which is denied, it was not directly or
proximately caused by Target.

Target lacked actual or constructive notice of any alleged error, defect, or hazardous
condition.

Although denied, any alleged defect was open and obvious.

Target denies that it breached any duty owed to Plaintiff

Plaintiff is not entitled to the relief sought because there were no unsafe conditions on the
premises at the time of the alleged accident.

Plaintiff's action is barred by her contributory negligence and her assumption of the risk.
Plaintiff's action is barred against Target because the damages she alleges were caused or
proximately caused by some person or third party other than Target for whom Target is
not legally responsible.

Plaintiff is not entitled to the relief sought because if there were unsafe or defective
conditions on the premises at the time of the alleged accident, Target had no actual or
constructive knowledge of it.

Plaintiff's alleged injuries were not caused or proximately caused by her alleged fall.
Target reserves the right to amend its Answer to include any other lawful defenses of
which it becomes aware.

PRAYER FOR RELIEF
WHEREFORE, having fully answered, “Target” prays that the Complaint against it be

dismissed with prejudice and that it be awarded attorney’s fees and costs expended and such

further relief as this Court deems appropriate.

Target demands a trial by jury on all issues so able to be determined.
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Respectfully Submitted,

TARGET CORPORATION
d/b/a TARGET STORES, INC.

 

J. Dérek Turrietta VSB# 35233

STACKHOUSE, NEXSEN & TURRIETTA, PLLC
4505 Colley Avenue

Norfolk, Virginia 23508

Telephone: (757) 623-3555

Fax: (757) 624-9245

dturrietta@sntlegal.com

CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of the foregoing Demurrer, Answer, and
Affirmative Defenses was served via First Class Mail Delivery to Counsels for Plaintiff,
Barbara S. Williams and Cory R. Ford, WilliamsFord, 101 Loudoun Street, SW, Leesburg,
Virginia 20175, with the original to the clerk for filing via FEDEX NEXT DAY AIR
DELIVERY #8115 5191 5045, on this 10" day of August, 2018

Th

J. Deték Turrietta VSB# 35233

STA OUSE, NEXSEN & TURRIETTA, PLLC
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Norfolk, Virginia 23508

Telephone: (757) 623-3555

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dturrietta@sntlegal.com

Counsel for Defendant

 

 
